Case 8:20-cr-00033-TDC Document 18 Filed 01/16/20 Page 1 of 1

FILED ENTERED
____—. LOGGED _ RECEIVED
IN THE UNITED STATES DISTRICT COURT -
FOR THE DISTRICT OF MARYLAND JAN 1 6 2020

T GREENBELT —
CLERKUS. DISTRICT COUR 1
DISTRICT OF MARYLA DEPUTY

UNITED STATES OF AMERICA By
*
Vs. Case No. CBD 20-mj-00192
*
BRIAN MARK LEMLEY, JR.
*
$k RR KR

ORDER OF TEMPORARY DETENTION PENDING HEARING
PURSUANT TO BAIL REFORM ACT

Upon motion of the United States for Temporary Detention, it is ORDERED that a detention

hearing is set for Sree Fo, HPO (date) at CAA time) before
7.
Honorable. , Lucthy J. Sully VALU , United States Magistrate Judge,

6500 Cherrywood Lane, Greenbelt, Maryland 20770 Courtroom TBD .

 

 

Pending this hearing, the defendant shall be held in custody by (the United States Marshal)
( ) (Other Custodial Official) and

produced for the hearing.

January 16, 2020 /L7 z>» a

Date Charles B. Day NS
United States Magistrate Judge

 

U.S. District Court (4/2000) Criminal Magistrate Forms: Order Temp. Detention
